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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


IN RE:                                           )
                                                 )
         HENRY J. CURTIS                         )                            CASE NO. 17-32447-thf
                                                 )
               DEBTOR                            )                                     CHAPTER 13

                               ORDER TERMINATING STAY

              Janet Curtis, by counsel, having moved the Court to terminate the automatic stay

afforded the Debtor and the Court being otherwise sufficiently advised;

              IT IS HEREBY ORDERED AND ADJUDGED that the stay afforded the Debtor

pursuant to 11 USC §362 be and the same is terminated so as to allow Janet Curtis to enforce the

domestic support obligations as defined in 11 U.S.C. §101(14A) owed by the Debtor.


         IT IS FINALLY ORDERED AND ADJUDGED that the relief sought by the movant in

its Motion shall be available to it immediately upon entry of this Order pursuant to Fed.R.Bkrtcy.P.

4001(a)(3).




                                                     Dated: October 3, 2018
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TENDERED BY:
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